8 F.3d 823
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Boyette Andrew WILLIAMS, Petitioner-Appellant,v.P. L. HUFFMAN;  Attorney General of the Commonwealth ofVirginia, Respondents-Appellees.
    No. 93-6847.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 27, 1993.Decided:  October 29, 1993.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.
      Boyette Andrew Williams, Appellant Pro Se.
      W.D.Va.
      DISMISSED
      Before RUSSELL and MURNAGHAN, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. § 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Williams v. Huffman, No. CA-93-593-R (W.D. Va.  Aug. 10, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    